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18                          UNITED STATES DISTRICT COURT
19          CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
20
      OMAR VARGAS, ROBERT BERTONE,                           ) Case No. CV 12-8388 AB
21    MICHELLE HARRIS, and SHARON                            )
22    HEBERLING individually, and on behalf                  ) The Hon. Andre Birotte Jr.
      of a class of similarly situated individuals,          )
23                                                           ) NOTICE OF APPEAL
24          Plaintiffs,                                      )
                                                             )
25    v.                                                     )
26                                                           )
      FORD MOTOR COMPANY,                                    )
27                                                           )
28          Defendant.                                       )

                                                  1
                                          NOTICE OF APPEAL
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 1          Notice is hereby given that Objectors Brenda Lott, Suzanne Lutz, Carlie
 2
      Olivant, Gail Slomine, and Philip Woloszyn, appeal to the United States Court of
 3

 4    Appeals for the Ninth Circuit from the Order Overruling Objections to Class Action

 5    Settlement (Dkt. No. 192), Order Granting Final Approval and Entering Judgment
 6
      (Dkt. 193), and Order Granting Plaintiffs’ Motion for Attorneys’ Fees, Costs, and
 7

 8    Service Awards (Dkt. 196), entered in this action on October 18, 2017.
 9
                                            Respectfully submitted
10

11                                          /s/ Michael T. Kirkpatrick_____
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                                       NOTICE OF APPEAL
